

People v Marshall (2018 NY Slip Op 07643)





People v Marshall


2018 NY Slip Op 07643


Decided on November 9, 2018


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on November 9, 2018

PRESENT: WHALEN, P.J., PERADOTTO, NEMOYER, CURRAN, AND TROUTMAN, JJ. (Filed Nov. 9, 2018.) 


MOTION NO. (1612/06) KA 04-00377.

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT, 
vDEATRICK MARSHALL, DEFENDANT-APPELLANT.



MEMORANDUM AND ORDER
Motion for writ of error coram nobis denied.








